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Search Wamnt


                                             U NITED STATES DISTRICT COURT
                                                                                 for the
                                                                           District of Arizona

                         I the Matter of the Search of
      (Briefly Describe //, e property to be search ed or identijj• tl, e person by name and
                                            address


   Joshua Bruce Tsavadawa, DOB: XX/XX/1999,                                                               Case No . 22-MB-04325-PCT
   Social Security umber: XXX-XX-XX0S



                                                    · SEARCH AND SEIZURE WARRANT

To:       Any authorized law enforcement officer

         An application by a fed eral law enforcement officer or an attorney for the government requests the search of the
followin g p erson or property located in the District of Arizona.
(identify the person or dcsciibe th e prop erty to be searched and give its location) :

                                                            As further described in Attachment A.

        ·n1c person or property to be searched, described above, is believed to conceal (identify the person or describe the
property to be seized):
                                                                   As set forth in Attachment B.

                      Tht      ffidavit of Spe ial Agent Jenifer J. Mulhollen is incorporated herein by reference.

        I fi nd that t 1c affid,~vit(s), or any recorded testimony, establish probable cause to search and seize the person or
property.

YOU ARE C MMANDED to execute th is warrant on or before                                                        · r~I~1,,_2_0~2-2__________~
                                                                                               -5.e.pi,~e~m~b=e~
                                                                                        (not to exceed 14 days)
           l8l in the d;,ytime 6:00 a.m. to 10 p.m.
           0 · t any ti me in the day or night as I find reaso nable cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to
the person fro m wh >m, r fro m whose premises, the property was taken, or leave the copy and receipt at the place where the
property was ta en.

        The officer executing th is wa ant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and p romptly return this warrant and inventory to United States Magistrate Judge.

 Any Magistrate Judge on duty in AZ
                      (nam e)
           D I fin d that immediate noti fi cation m· y have an adverse result listed in 18 U. S.C. § 2705 ( except for delay of trial),
and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be searched or
seized (check tire appropriate box)       [] for_ _ days (not to exceed 30)
                                          0 unt il, the facts justifying, the later specific date of _ _ __ _ _ _ _ __
Date and time issued : _ _ _ _ _ _ _ _ _ _ _ _ _ _                                             Cam ii le D. Bibles            Digitally signed by Ca mi lle D. Bibles
                                                                                                                              Date: 2022.08.29 18:32:1 3 -07'00'
                                                                                                                     Judge 's sig nature

 City and State: Flagstaff, Arizona                                                             Honorable Camille D. Bibles, U.S. Magistrate Judge
                                                                                                                Printed name and title
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I AO 93 (Rev. 01109\ Search aud Sci mrc Wanant (Pa~c 2)
                                                                          RETURN
  Case No.:                                               Date ~nd Time Warrant Executed:        Copy of warrant and inventory left with:
     22-MB-043 25 -PCT


I In,rntory Made m ' ""'"""of




  Inventory of the property taken ai1d nam e of any person(s) seized:




                                                                      CERTIFICATION
   I declare unc er penalty of perjury that this inventory is correct and was returned along with the original warrant to the
   designated judge.


    Date:
                                                                                     Executing officer's signature



                                                                                     Printed name and title
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                       ATTACHMENT A
         DESCRIPTION OF PERSON TO BE SEARCHED

Name: Joshua Bmcc Tsavadawa
SSN : XXX- )tf(- X05
DOB: XX/XX/1~99
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                                ATTACHMENT B
                             ITEMS TO BE SEIZED

      Evidence in the fonn of deoxyribonucleic acid ("DNA") to be obtained from
Joshua Bmcc Tsavadawa through cotton/buccal swabs in the mouth.
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FAX or lntemct

                                 UNITED STATES DISTRICT COURT
                                                             for the
                                                      District of Arizona
           In the Matter of the Search of:

Joshua Bruce Tsavadawa, DOB:
XX/XX/1999, Social Security Number:                                       Case No.       22-MB-01325- PCT
XXX-XX-XXO.




               ELECTRONIC APPLICATION FOR SEARCH AND SEIZURE WARRANT
        I, F. B. l. Special Agent Jenifer J. Mulhollen, a federal law enforcement officer for the government,
request an electron ic search warrant and state under penalty of perjury that I have reason to believe that on the
following person or propeny (identify the person or describe the property to be searched and give its
location) :
                                                     See Attachment A.
located in the District of Arizona , the re is now concealed    (identify the person or describe the property to be seized):

                                                     See Attachment B.
         The basi s for the search under Fed. R. Crim. P. 41 (c) is (check one or more):
             Xe idence of a crime;
                   c 111 raband, fru its of cr ime, or other items illegally possessed;
                   property designed for se, intended for use, or used in committing a crime;
             _ a person to be arrested or a person who is unlawfully restrained.
            Th searc h is related to a violation of:
           Cq_c!e Sectiq_n                                                    O((e_nse Description
 18 U.S. C. 11 53and224l(a)
         The ap lic_flti on is based upon the following facts:
         [x] Contin ued on the attache  sheet ( see attached Affidavit) .
         D   Delayed notice         days (gi ve exact ending date if more than 30                                      ) is requested
             umler 18 U. S.C. § 3103a, the basis of which is set forth on the attached sheet.

Reviewed by AUS~ Alanna Kenned ~ .

Pursuant t 28 U. S .C. § 1746(2), I dec lare under penalty
of perjury that t e foregoing is true and ..:orrect.
Executed on: t_9us t 29 , 2022                                            Jenifer J. Mulhollen, F.B.l. Special Agent
                                                                                          Prin ted Name and Title


                                                                                                        Digitally signed by Camille D.
Dateffime:
                                                                 Camille D.                             Bibles
                                                                                                        Date: 2022.08.29 18:31 :27
Date :
                                                                 Bibles                                 -07'00'
                                                                                             Judge ·s Signature

                                                                                         Cami ll e D. Bibles,
 City and State:     Flagstaff,, AZ                                                United States Magistrate Judge
                                                                                           Printed Name and Title
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                        ATTACHMENT A
         DE 'CRIPTION OF PERSON TO BE SEARCHED


 Name: Joshua Bruce Tsavadawa
 SSN: XXX-XX-XX05
 D B: XXIXX/1999
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                                ATTACHMENT B
                             ITEMS TO BE SEIZED


      Ev·dence in the form of deoxyribonucleic acid ("DNA") to be obtained from
Joshua ruce Tsavadawa thr ugh cotton/buccal swabs in the mouth.
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     AltF   A VIT IN SUPPORT OF APPLICATION FOR SEARCH WARRANT


I, Jeni er J. M lhollen, Special Agent with the Federal Bureau of Investigation ("FBI"),
being duly sworn, depose a d state as follows:
                                         INTRODUCTION
1.     The fads of this ase, as more fully detailed herein, in November 2018, within the
       c nfines of the D istrict of Arizona, JOSHUA BRUCE TSAVADA WA
       ("JOSHUA"), Date of Birth: XXIXX/1999, Social Security -number: XXX-XX-
       XX05, violated federal law by committing the act of Aggravated Sexual Abuse, in
       vi lation of Title 18, United States Code, U .S.C §§ 1153 and 2241(a).
2.     I am rcquesti g that tl e Court issue a search warrant to search for evidence in the
       form 01 deoxyribon cleic acid ("DNA") located in and on the body of JOSHUA, as
       set :ti rt in Attac ments A and B.
3.     I am a Special Agent with the Federal Bureau of Investigation (FBI), currently
         : sig     d to t e Pho e ·x Division, Flagstaff Resident Agency, in Flagstaff, Arizona.
       I hate been employed since February 2013 . I received training at the Federal
       B reau ofinvcstigati n Training Academy, and have experience including, but not
       Ii ited to, investigating major crimes that occur on Indian reservations, and
       specifically c e lfo pi Indian Reservation, Indian Country, within the District of
       Arizona.
4.     The facts in t is affi avit come from my personal observations, my training and
        e pcricnce, · d info       ation obtained from other agents, officers, investigators, and
        wiin sses . T is affidavit is intended to show merely that there is sufficient probable
        cause for the r quested warrant and does not set forth all my knowledge about this
            Her.    Beca se this affidavit is made for the limited purpose of establishing
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      probable cause, I         ave not listed every fact known to me concerning this
      investigation. I have set forth only the facts that I believe are necessary to establish
      probable c use to beli ve that evidence of the violation of Title 18, United States
      Code, Sections 1153 and 2241(a), is located in and on the body of JOSHUA.
      Accordingly, this application requests authority to search JOSHUA as described in
      /_ttachment A , for evidence of this crime as described in Attachment B.
                                     PROBABLE CAUSE
5.    On February 12, 20 19, a Suspected Child Abuse Neglect (SCAN) was received by
      the Hopi Resource Enforcement Services (HRES) from the Winslow Resident Hall
      H me living M anager Calvin Chee. Chee reported he contacted T .F., the mother of
      Jane Doc 1 to discuss Jane Doc 1 's behavior and absences. During the conversation,
       . .F. disclose to Chee that Jane Doe 1 was raped in November of 2018 and became
      pregnant as a res lt. Ja e Doe l's date of birth is )9(/)Q(/03, and she was 15 years
        Id w hen s e wa: ra ed.
6.     O rt or about March 8, 2019, Hopi Resource Enforcement Services Detective Evan

       Silas contacted SA M ulhollen about obtaining FBI assistance in investigating the
       s xual assault of Jane Doc 1.
7.     Or~July 16, 20 19, Jane Doc 1 was forensically interviewed at the Safe Child Center
          ··1agstaff, A rizona. Jane Doc 1 explained that JOSHUA is related to Jane Doe 1's
       f ther. Jane Doe 1 lost contact with JOSHUA when she moved out of the village
       and JOSHUA also moved. Last year, there was a dance JOSHUA was helping with
       and he asked Jane D e 1 to dance. Jane Doe 1 told JOSHUA she could not because
       s. c was dancing   ~   r her father.
8.      ane Doe 1 communicated with JOSHUA on Facebook. Jane Doe 1 built up trust
       with JOSH UA. In N vembcr 201 8, she was having a hard time and did not have
       · n yo c to talk to. Ja c Doc 1 went home from school for Thanksgiving break.




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9.      JOS UA told Jane Doe 1 if she wanted to come over and talk, he would be there
        for her. Jane Doe 1 was "desperate for the help" and told him she would come.
        J SHUA tol Jane Doe 1 that the next morning they could go for a run, and she
        could talk to im. T e next morning around 6:00 a.m., Jane Doe 1 left her house
        and met JOSHUA. They ran towards the cliff. Jane Doe 1 told JOSHUA what was
        gem g n and JOSHUA began to "comfort" Jane Doe 1.
10.     JO S      A was staring · t Jane Doc 1 and trying to move closer to her. Jane Doe 1
        told JOSHUA it was getting late, and she had to go because two hours had passed,
        ·n     er mother would be looking for her. Jane Doc 1 stood up and JOSHUA stood
        up. JOSHUA grabbed Jane Doc 1 's arm and pulled her into him. JOSHUA hugged
        l er in   way she could not get out of his arms. JOSHUA told Jane Doe 1 he wanted
        to talk "a little bit more." Jane Doe 1 agreed.
11.          frame house was being built nearby and JO SHUA asked Jane Doe 1 if she wanted
        to go inside. J SHUA walked Jane Doe 1 inside the house by holding her arm. They
        talked. Jane Doc 1 was seated on a window frame and JOSHUA put his arms on her
        thighs. JOSH JA then kissed Jane Doc 1 on her neck and face. Jane Doe 1 kicked
        J S UA, b t JOSHUA was able to cross Jane Doe 1 's legs and leaned up against
        her leg· .
12.     JOSHUA continued to kiss Jane Doe 1 and she told him to stop and that "she could
         ot do that. T at it's not right and it's not something she should be doing, and she
         'id not want io do that. And that she had to go." JOSHUA told Jane Doe 1 to stay,
        and he would walk er home after. Jane Doe 1 did not want to say anything to upset
        JOSHUA, so she sat there and he left her alone for a while.
13.      v   hilc ·eated on t e window JOSHUA grabbed Jane Doe l's hands, crossed them
        o her lap, a d start d kissing her neck. JOSHUA tried to kiss her chest, and then
        k "s ·cd her check an lips. While Jane Doc 1 was on the window frame , JOSHUA




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      took off her " tru ks" and bra. JOSHUA took Jane Doe 1 to the boards and took off
       er shirt and pulled down her underwear. JOSI-TTJA pulled down his pants and took
       ff his tank to . Jane Doe 1 was lying on her back while on the boards. JOSHUA
      began to tau h her breast and stomach, and then started kissing her neck and chest.
14.   Jane D e 1 told JOSlTTJA to stop, but he covered up her mouth. JOSI-TTJA started
      "g · g a t it." Ja c D e 1 indicated JOSlTTJA did something to her vagina ..Jane Doe
      1 was asked what part of JOSIIUA's body went into her vagina. Jane Doe 1 did not
          ant to say the word but wrote "penis." Jane Doe 1 did not know if something came
      out of is penis. Jane Doe 1 reiterated she was on her back and JOSITTJA's body
      was on top of ers . One of JOSI·TTJA's hands was holding her hands (crossed) above
      her hca . JOSHUA ' s other hand was over Jane Doe l's mouth. JOSI-IUA did not
      say anyt ing.
15.   After JOSI TTJA got off Jane Doc 1, he got dressed, went back towards Jane Doc 1,
       n     ut l er clothes and phone beside her. Then JOSI-illA kissed her again. JOSHUA
      ca e back to Jan Doc 1 and started to take off her clothes. Jane Doc 1 tried to push
      JOS U       off an told him she had to go. Jane Doc 1 told JOSITTJA she was going
      to call tr.e police. JOSHUA got scared and took her phone. JOSHUA continued to
       o "w at he     as <laing" and Jane Doe 1 was scared. Jane Doe 1 started crying and
      told JOSHUA to stop. Jane Doe 1 tried pushing JOSI-TTJA off her. JOSHUA laid
      Jane D c 1 down on a pile of boards. Jane Doc 1 tried to get up to put on her clothes,
      but JOSHUA laid on top of her and held her arms down.
16.   Jane D e 1 cried ou and told JOSITTJA she was going to tell her mother when she
      got home. JOSHUA did not say anything. JOSIIUA covered her mouth with his
       a d. JOSHUA "di w hat he wanted to do to please himself." Jane Doe 1 tried to
      scream. When JOSHUA was done, he got off Jane Doe 1 and got dressed. Jane Doe
      1     · s crying, a d JOSHUA told Jane Doe 1 if she said anything "he would do




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      something."

17.   Jane Doc 1 did not say anything and just laid there. After JOSHUA got dressed, he
      went back to Jane Doe 1 and kissed her on the cheek. JOSHUA told Jane Doe 1 he
       anted to see her again and then he left. Jane Doe 1 stayed in the house for a while
      thinking ab ut what she should do. Jane Doe 1 thought about what JOSHUA said
       n decided not to say anything. Jane Doe 1 put her clothes on and ran home.
18.   Jane D c l ' s m other asked where she was, and Jane Doc 1 told her she ran into the
      c· nyon . Jane Doe l ' s mother noticed the scrapes on Jane Doc l ' s legs and arms.
      Jane Doe I t Id her mother she fell. Jane Doe l's little sister asked her what was
       rong. Jane Doc 1 told her sister she was sick. Jane Doc l's sister left her alone for
      the rest of the d y. Jane Doe 1 did not talk to anyone about the incident with
      JOSHUA.
19.   A fter T anksgiving break, Jane Doe 1 went back to school. Initially, Jane Doe I
       id not tell anyo c what JOSHUA had done to her.
20.   JOSHUA sex al assaulted Jane Doe I within the confines of the Hopi Indian
      Res ,rvation . JO SHUA is an enrolled member of the Hopi Indian Tribe with a
       uantu   ofindi n blood, and his date of birth is XXIXX/99. Because JOSHUA's
      birthday is near the end of November, it is not clear whether he was 18 or 19 years
      old at the fmc he sexually assaulted Jane Doe I .
21.    a c Doc I i j urcd her back and her mother took her to the hospital. Jane Doe 1 had
      to take · urin , test. The doctor ordered X-rays to try to figure out what was wrong
        ith Jane    oe. W hile in radiology, the doctor stopped the X-rays. The doctor
      in formed Jan D c I she was pregnant. The doctor asked Jane Doe I if she was
      sexually active. J- nc Doc 1 wanted to tell the doctor no . Jane Doc I 1-mew she did
      not ave sex with anyone, and she 1-tcw "that had happened" and she did not want
      her m other to fin d o t. Jane Doc 1 lied to the doctor and told him she was sexually




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       ac1ivc. Jane Doc 1 did not want anyone to find out what happened.
22.    The doctor to ld Jane Doc 1 that she needed to come back for a pre-natal visit. Jane
           c 1 cried · nd put herself back together. Jane Doe 1 left the hospital with her
       rn ther and return d to school.
23.    Jane Doe 1 messaged JOSHUA and informed him she was pregnant. JOSHUA
       responded that "it could not be his." Jane Doe 1 replied she knew the baby was his
       ~nd she id not care if he "stepped up to what he did," but that she just wanted to let

       him -k now.
24 .        er a cou le of months, JOSHUA messaged Jane Doe 1 letting her know he
       wanted to be there for the baby if it was his. JOSHUA asked if Jane Doe 1 would
       get cstcd to sec if it was his kid. JOSHUA blamed Jane Doc 1 for what happened.
25.        few days H er, JOSHUA messaged Jane Doe 1 asking if he could see her. Jane
       D   ,e 1 asked why, and JOSHUA responded that he needed to talk to her about what
           as going on. Ja e Doe 1 was mad because JOSHUA already told her he did not
        ta. t the kid. JOSHUA messaged Jane Doe 1 again a few days later asking to see
        er. Jane Doe 1 sked why. JOSHUA said he wanted to work things out. JOSHUA
       s arted to " irt" with Jane Doe 1. JOSHUA asked Jane Doe 1 if he could come to
       her ouse since her mot er was not home, and that he wanted to see her in her
       running shm1s again.
26.    Jane Doc 1 got ma and told JOSHUA she did not want to talk to him. JOSHUA
       told Ja c Doe 1 he wanted t o see her face to face . In June 2019 , JOSHUA messaged
        ane Doc 1 t ::it c wanted to be a dad and be there to take care of his kid. JOSHUA
       got rn ad and asked about the DNA test again.
27.    A ll the mess- ging etwccn Jane Doe 1 and JOSHUA was through Facebook, but
       Jane Doe 1 deleted the messages.
28.    On August 6, 2019, Spcci- I A gent King obtained consent from Jane Doc 1 to take




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         er DNA st· ndar<l and the standard of the male child she had recently given birth
       t ).

29.    On January 22, 2020, SA Mulhollen attempted to locate JOSHUA for an interview.
              ile trying to locate JOSHUA, SA Mulhollen learned he was incarcerated in the
       Navajo County jail on an unrelated matter, and that he had an appointed public
         cfender.
30.    SA Mui. ollcn o taincd a search warrant, issued in the United States District Court
       fo r the District of Arizona, on July 15, 2020 for JOSHUA 's DNA via buccal swabs
       (20-4 l 28MB) . SA Mulh llcn attempted to execute the warrant several times before
       it expired on July 29, 2020. JOSHUA was not located, and on August 3, 2020, SA
       M lhollcn returned the search warrant to the court.
3 1.      n March 22 , 2022, your Affiant and FBI Special Agent Brian McGrew went to
       JOSHUA's last known address, a single trailer located 1/3 mile northwest of
       Highway 264 and S ungpavi Junction in Second Mesa, Arizona. Joshua's mother,
       Awina Kcwanyama, informed Agents that Joshua was not home and she had not
       seen him in approximately one week. Awina did not have a phone number for
         oshua, but stated he comes back to sec his four children.
32.    On August 2 , 2022 , your Affiant was notified by BIA SA Jamie Kootswatewa that
          >shua Tsavadawa was arrested by the Hopi Police Department on outstanding tribal
          arrants and was booked at the Navajo County jail in Holbrook, Arizona.
33.    A DNA stand· rd from Joshua is needed to confirm or deny he is the biological father
       of Jane Doe 1' s child. The FBI laboratory will perform the necessary direct forensic
       comparison to s pport this investigative upon receipt of a known DNA standard via
       buccal swab fror JOSHUA.
                        THINGS TO BE SEARCHED FOR AND SEIZED
34.    Accordingly, your affiant respectfully requests that a search warrant be issued




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      authorizin g the search and seizure of DNA to be obtained from JOSHUA for the
      reasons stated above. Process of collection will be limited to the seizure of a DNA

      standard by the use buccal swabs. Method of collection will be oral, that is, by
      inserting the buccal swabs into JOSHUA 's mouth for the purpose of collecting
      sali va and cheek cells.

                                   CONCLUSION
35.     ased on th e in fo rmat ion in this affidavit, your Affiant respectfully submits there is
      prob able cause to b elieve that ev idence described in Attachment B supporting an
       investigation rel ated to vio lations of 18 U.S .C. §§ 1153 and 224l(a) will be
      discovered on T SA VADA WA described in Attachment A.


Pu rs uant to 28 U . . C. § 1746(2), I declare that the foregoing is true and
c rrect to the best o f my knowledge and belief.




                                                      r)f/1.----- -
                                            Special A gent Jenifer J . Mulho llen
                                                                                                 -
                                            Federal Rmea11 of Investigation


       Sub scribed and sworn to me telephonically on this ____ day of August, 2022.
                                                                        Digi tal ly signed by Ca mill e D.
                                            Camille D. Bibles Bibl es
                                                                        Date: 2022.08.29 18:30:5 7 -07'00'

                                            HONORABLE CAMILLE D. BIBLES
                                            United States Magistrate Judge




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